 Case 2:09-mc-51388-MOB-PJK ECF No. 5, PageID.15 Filed 04/29/10 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                     MISC. NO. 09-mc-51388
       -vs-
                                                     HON. MARIANNE O. BATTANI
JOSEPH R. DELFGAUW,

            Respondent.
_____________________________________/

                                  NOTICE OF DISMISSAL
                                      OF PETITION
                                TO ENFORCE IRS SUMMONS

       Petitioner, through undersigned counsel, hereby advises the Court that pursuant to

Fed.R.Civ.P. 41(a)(1), it wishes to dismiss without prejudice the Petition to Enforce IRS

Summons filed against respondent, Joseph R. Delfgauw, on December 12, 2009, because the

petitioner is unable to locate and serve the respondent.


                                              Respectfully submitted,

                                              BARBARA L. MCQUADE
                                              United States Attorney

                                              s/ Vanessa M. Mays
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Dated: April 29, 2010
